      Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 1 of 8 PageID #:1


15225/TPK/kas                         Attorney ID #6275284
10-14-11


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               NORTHERN DIVISION



DARYL KIRKLAND and JUDY                 )
KIRKLAND,                               )
                            Plaintiffs, )
                                        )
v.                                      )                     JURY TRIAL DEMANDED
                                        )
STEVEN SIGALOVE, M.D. and DUPAGE )
MEDICAL GROUP, LTD., Individually and )
d/b/a THE INSTITUTE FOR AESTHETIC       )
SURGERY, a Corporation,                 )
                                        )
                          Defendants. )


  __________________________________________________________________________

                                    COMPLAINT AT LAW

       Now comes the Plaintiffs, DARYL KIRKLAND and JUDY KIRKLAND, by their

attorneys, ANESI, OZMON & RODIN, NOVAK & KOHEN, LTD., and complaining of the

Defendants, STEVEN SIGALOVE, M.D. and DUPAGE MEDICAL GROUP, LTD.,

Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation., and

each of them, alleges as follows:

                               PARTIES AND JURISDICTION

       1.      Plaintiffs, DARYL KIRKLAND and JUDY KIRKLAND, are residents of British

Columbia, Canada and Citizens of Canada.

       2.      Defendant, Steven Sigalove, M.D. is a citizen of Illinois.

       3.      Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a THE

INSTITUTE FOR AESTHETIC SURGERY, a Corporation is incorporated in Illinois with its
      Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 2 of 8 PageID #:2


headquarters and principal place of business in Illinois.

       4.      That this court has jurisdiction over this action pursuant to 28 U.S.C. Section

1332 as there is complete diversity of citizenship between Plaintiffs and Defendants and the

amount in controversy exceeds $75,000.00 exclusive of interest and costs.

       5.      Venue is proper in the Northern District of Illinois pursuant to 28 U.S.C. Section

1391 as Defendants reside and a substantial part of the events occurred within this district.

                                            COUNT I

       1.       That on October 30, 2009, the Defendant, Steven Sigalove, M.D. was a duly

licensed and practicing Plastic Surgeon in the State of Illinois holding himself out as being

trained and skilled in the medical profession; and said Defendant was engaged in the practice of

that profession in the Village of Lombard, County of DuPage, and State of Illinois, and further

held himself out as the agent or apparent agent of DuPage Medical Group d/b/a The Institute for

Aesthetic Surgery.

       2.      That on the aforementioned date, the Defendant, Steven Sigalove, M.D., was

retained and employed as the Plaintiff's Plastic Surgeon for the purpose of treatment in

conjunction with suction–assisted lipectomy of the abdomen, flanks, and lower back for which

he was then and there seeking, which required medical and/or surgical treatment and the said

Defendant accepted such employment and thereafter rendered medical treatment to the Plaintiff

for a pecuniary consideration.

       3.      That at the time of, and during the course of the aforementioned treatment, the

Defendant, Steven Sigalove, M.D., did not possess and/or exercise that degree of skill and care

that ordinarily well-qualified Plastic Surgeons possess and exercise under similar circumstances

in the aforementioned locality or similar localities in which the aforementioned treatment was

rendered in that Defendant:

               (a)     Failed to protect and/or guard against Plaintiff’s colon
                                                 2
       Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 3 of 8 PageID #:3


                       being perforated.

               (b)     Failed to recognize the harm caused by Plaintiff’s colon
                       being perforated.

               (c)     Failed to properly respond to the harm created by the
                       surgical misadventure.

               (d)     Failed to properly advise and/or warn the Plaintiff of the
                       risks associated with the procedure or the type or degree of
                       surgical misadventure.

               (e)     Failed to appropriately follow up with the patient after the
                       procedure.

               (f)     Failed to diagnose the colon perforation present on October
                       30, 2009, which would have permitted intervention to
                       prevent injury.

       4.      That as a direct and proximate result of one or more of the aforesaid negligent

acts and/or omissions of the Defendant, the Plaintiff suffered a perforated colon due to the failure

to protect and/or guard against this occurrence.

       5.      That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts and/or omissions of the Defendant, the Plaintiff then and there sustained severe

and permanent injuries and was, and will be, hindered and prevented from attending to his usual

duties and affairs of life, and has lost, and will lose, the value of that time as aforementioned.

Further, Plaintiff has expended large sums of money endeavoring to be cured and healed of said

injuries and will in the future, incur additional sums of money endeavoring to be cured of said

injuries. Further, Plaintiff also suffered and will, in the future, suffer great pain and anguish

from said injuries.

       6.      That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-

622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care

Professional (See Exhibit “B”).




                                                   3
       Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 4 of 8 PageID #:4


        WHEREFORE, the Plaintiff, DARYL KIRKLAND, demands judgment against the

Defendant, STEVEN SIGALOVE, M.D., in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

                                           COUNT II

        1.      That on and prior to October 30, 2009, the Plaintiff was the lawfully wedded wife

of DARYL KIRKLAND.

        2-4.    Plaintiff repeats and realleges, and incorporates by reference, Paragraphs One (1)

through Three (3) of Count I as Paragraphs Two (2) through Four (4) of Count II, as if fully set

forth herein.

        5.      That as a direct and proximate result of the aforesaid careless and negligent acts

and/or omissions of the Defendant, STEVEN SIGALOVE, M.D., the Plaintiff's husband then

and there sustained severe and permanent injuries, both externally and internally, and was, and

will be, hindered and prevented from attending to his usual duties and affairs.

        6.      That as a direct and proximate result of the aforesaid careless and negligent acts

and/or omissions of the Defendant, STEVEN SIGALOVE, M.D., the Plaintiff has been deprived,

and is reasonably certain to be deprived in the future, of the society, companionship and conjugal

relationship with her husband.

        7.      That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-

622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care

Professional (See Exhibit “B”).

        WHEREFORE, the Plaintiff, JUDY KIRKLAND, demands judgment against the

Defendant, STEVEN SIGALOVE, M.D., in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.
                                                 4
      Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 5 of 8 PageID #:5


                                          COUNT III

       Now comes the Plaintiff, DARYL KIRKLAND by his attorneys, ANESI, OZMON,

RODIN, NOVAK & KOHEN, LTD., and complaining of the Defendant, DUPAGE MEDICAL

GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a

Corporation, alleges as follows:

       1.      That on October 30, 2009, and prior thereto, the Defendant, DUPAGE MEDICAL

GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a

Corporation, was a duly constituted professional medical corporation, in the State of Illinois,

which, by and through its agents, servants and employees, treated persons suffering from various

ailments and provided medical services for the needs of patients under the care and treatment of

said medical corporation.

       2.      That on and prior to the aforementioned date, the Defendant, DUPAGE

MEDICAL GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC

SURGERY, a Corporation, through its agents, servants and employees, accepted the Plaintiff as

a patient and agreed to render competent and adequate medical services in conjunction with a

surgical procedure and said Defendant, through its agents, servants and employees, undertook to

render care, diagnosis, treatment and services for pecuniary consideration.

       3.      That at all times mentioned herein, the Defendant, DUPAGE MEDICAL

GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a

Corporation, through its agents, servants and employees, was guilty of one or more of the

following careless and negligent acts and/or omissions:

               (a)    Failed to protect and/or guard against Plaintiff’s colon
                      being perforated.

               (b)    Failed to recognize the harm caused by Plaintiff’s colon
                      being perforated.



                                                5
       Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 6 of 8 PageID #:6


               (c)    Failed to properly respond to the harm created by the
                      surgical misadventure.

               (d)    Failed to properly advise and/or warn the Plaintiff of the
                      risks associated with the procedure or the type or degree of
                      surgical misadventure.

               (e)    Failed to appropriately follow up with the patient after the
                      procedure.

               (f)    Failed to diagnose the colon perforation present on October
                      30, 2009, which would have permitted intervention to
                      prevent injury.

        4.     That as a direct and proximate result of one or more of the aforesaid negligent

acts and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and

d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, by and through its

agents, servants and employees, the Plaintiff suffered a perforated colon due to the failure to

protect and/or guard against this occurrence.

        5.     That as a direct and proximate result of one or more of the aforesaid careless and

negligent acts and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD.,

Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, by and

through its agents, servants and employees, the Plaintiff then and there sustained severe and

permanent injuries and was, and will be, hindered and prevented from attending to his usual

duties and affairs of life, and has lost and will lose, the value of that time as aforementioned.

Further, Plaintiff has expended large sums of money endeavoring to be cured and healed of said

injuries and will, in the future, incur additional sums of money endeavoring to be cured of said

injuries.

        6.     That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-

622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care

Professional (See Exhibit “B”).

        WHEREFORE, the Plaintiff, DARYL KIRKLAND, demands judgment against the
                                                6
       Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 7 of 8 PageID #:7


Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR

AESTHETIC SURGERY, a Corporation, in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.

                                           COUNT IV

        Now comes the Plaintiff, JUDY KIRKLAND, by her attorneys, ANESI, OZMON &

RODIN, NOVAK & KOHEN, LTD., and complaining of the Defendant, DUPAGE MEDICAL

GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR AESTHETIC SURGERY, a

Corporation, alleges as follows:

        1       That on and prior to October 30, 2009, the Plaintiff was the lawfully wedded wife

of DARYL KIRKLAND.

        2-4.    Plaintiff repeats and realleges, and incorporates by reference, Paragraphs One (1)

through Three (3) of Count III as Paragraphs Two (2) through Four (4) of Count IV, as if fully

set forth herein.

        5.      That as a direct and proximate result of the aforesaid careless and negligent acts

and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a

THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, the Plaintiff's husband then

and there sustained severe and permanent injuries, both externally and internally, and was, and

will be, hindered and prevented from attending to his usual duties and affairs.

        6.      That as a direct and proximate result of the aforesaid careless and negligent acts

and/or omissions of the Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a

THE INSTITUTE FOR AESTHETIC SURGERY, a Corporation, the Plaintiff has been

deprived, and is reasonably certain to be deprived in the future, of the society, companionship

and conjugal relationship with her husband.



                                                 7
       Case: 1:11-cv-07285 Document #: 1 Filed: 10/14/11 Page 8 of 8 PageID #:8


        7.      That attached hereto and made a part hereof in conformance with 735 ILCS 5/2-

622 are both an Affidavit of Counsel (See Exhibit “A”) and an Affidavit from a Health Care

Professional (See Exhibit “B”).

        WHEREFORE, the Plaintiff, JUDY KIRKLAND, demands judgment against the

Defendant, DUPAGE MEDICAL GROUP, LTD., Individually and d/b/a THE INSTITUTE FOR

AESTHETIC SURGERY, a Corporation, in a dollar amount to satisfy the jurisdictional

limitation of this Court and such additional amounts as the jury and the Court shall deem proper,

and additionally, costs of said suit.



                                                   /s/ Todd P. Klein
                                                   Attorneys for Plaintiff(s)

Todd P. Klein
Brian D. Teven
ANESI, OZMON, RODIN, NOVAK & KOHEN, LTD.
161 North Clark Street - 21st Floor
Chicago, IL 60601
312/372-3822




Todd P. Klein
ANESI, OZMON, RODIN, NOVAK & KOHEN, LTD.
161 North Clark Street - 21st Floor
Chicago, IL 60601
312/372-3822




                                               8
